                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA


 PETRO STAR, INC.,

        Plaintiff,                      Case No. 3:11-cv-0064-RRB
 vs.

 BP OIL SUPPLY CO., BP PRODUCTS
                                        ORDER GRANTING DEFENDANT’S
 NORTH AMERICA INC.,
                                        MOTION FOR SUMMARY JUDGMENT
        Defendants.


       Before the Court, at Docket 89, is Defendant BP Products North

America, Inc.,(BP), successor-in-interest to BP Oil Supply Company,

with a Motion for Summary Judgment filed pursuant to Federal Rule

of Civil Procedure 56. Plaintiff Petro Star, Inc.,(Petro Star)

opposes at Docket 95 and Defendant replies at Docket 99.

       The matter has been fully briefed and does not require oral

argument.    Therefore, the Requests for Hearing at Docket 102 and

Docket 109 are hereby DENIED.

       For the reasons set forth below, the Court hereby GRANTS BP’s

Motion for Summary Judgment.




ORDER GRANTING MOTION FOR
   SUMMARY JUDGMENT AT DOCKET 89 - 1
3:11-CV-0164-RRB


       Case 3:11-cv-00064-RRB Document 115 Filed 12/07/12 Page 1 of 6
I.    FACTS

      This is a contract dispute between BP and Petro Star regarding

the purchase and sale of crude oil produced on the North Slope of

Alaska. The dispute involves the interpretation of certain sales

and exchange contracts negotiated by the parties between 1992 and

2000. The parties do not disagree significantly on the factual

history surrounding these contracts, although there is some dispute

as to the industry practice surrounding tariff refunds. The Court,

however, does not feel that a detailed recitation of the facts is

required here and accepts the factual presentation of the parties

in their respective briefings, while of course taking any factual

disputes there might be in a light most favorable to Petro Star,

the non-moving party.

II.   STANDARD OF REVIEW

      This matter is governed by Rule 56 of the Federal Rules of

Civil Procedure which requires the Court to grant summary judgment

if there is no genuine dispute as to material facts and if the

moving party is entitled to judgment as a matter of law.

III. DISCUSSION

      Although complex on the surface, with extensive exhibits and

technical contract language, the dispute before the Court is a

rather straightforward matter of contract construction between two

sophisticated business entities. The Court has fully studied the

ORDER GRANTING MOTION FOR
   SUMMARY JUDGMENT AT DOCKET 89 - 2
3:11-CV-0164-RRB


       Case 3:11-cv-00064-RRB Document 115 Filed 12/07/12 Page 2 of 6
pleadings of the parties and the various exhibits and affidavits.

While there may be some minor factual disputes, none of them is

material or serves to supplant the clear language of the contracts

involved.

      In the instant case, BP and Petro Star entered into an

agreement for the purchase and sale of crude oil to be delivered by

BP to Petro Star’s North Pole refinery by way of the Trans Alaska

Pipeline for a specific price per barrel. It was a customary

commercial contract. BP was the owner and shipper of the oil and

assumed all the risks and costs associated with transporting the

oil to the North Pole Refinery. Petro Star was the purchaser and

recipient of the oil. Its only obligation was to pay for the oil it

received and used. The negotiated per barrel price was one that

both parties were satisfied with at the time the contracts were

entered and was the price paid by Petro Star, without complaint,

throughout     the   history   of      the   contracts.   Years   later,   after

significant litigation, BP received a refund for part of the intra-

state tariff charged by the pipeline owners for the transport of

this oil. Petro Star contends that this money should go to it

inasmuch as this cost was included in determining the per barrel

price   that   BP    charged   for     the   oil.   The   contracts,   however,

contained no language that would justify this demand or that would

require a retroactive price adjustment in the event tariff rates

ORDER GRANTING MOTION FOR
   SUMMARY JUDGMENT AT DOCKET 89 - 3
3:11-CV-0164-RRB


        Case 3:11-cv-00064-RRB Document 115 Filed 12/07/12 Page 3 of 6
were subsequently revised. And Petro Star, understanding that

tariff charges were always subject to possible change, could have

sought such language during the contract negotiating process, but

did not. Petro Star cannot now receive the benefit of being a

shipper, while expressly placing this burden on BP as part of the

contract negotiations. Nor can it seek now to modify its contract

with BP after the passage of many years, with the benefit of

hindsight, and without any consideration for what would amount to

a significant and unjustified contract modification.

      The   Court    finds     BP’s    Reply    memorandum   at    Docket   99

particularly persuasive and incorporates it herein.               The contract

language, as well as the course of performance between the parties,

clearly supports BP’s position.         Moreover, there is no evidence of

industry practice requiring the refunds Petro Star seeks, absent

express retroactivity provisions in the contract. And even if there

were such a practice, it would not trump the clear contract

language or the course of performance between the parties.

      The    Court      also     rejects       Petro   Star’s     claims    of

unconscionability and unjust enrichment. On the contrary, given the

clear contract language, it would be unconscionable to require the

relief requested and would amount to a windfall for Petro Star to

receive the monies sought. Petro Star long ago passed the charges

for the oil it purchased from BP to its customers and no evidence

ORDER GRANTING MOTION FOR
   SUMMARY JUDGMENT AT DOCKET 89 - 4
3:11-CV-0164-RRB


       Case 3:11-cv-00064-RRB Document 115 Filed 12/07/12 Page 4 of 6
has been provided to show that Petro Star was damaged by these

charges or by the terms of the negotiated contracts. If Petro

Star’s arguments were accepted here, and taken to their logical

extreme, one might then wonder if Petro Star’s various customers

might more appropriately be entitled to the refunds sought.

      The    parties’    briefing      goes    beyond   that   which     has    been

discussed above. The bottom line, however, is that this dispute

must be determined by the contracts themselves and by traditional

notions of contract law. These contracts were valid commercial

contracts entered into by sophisticated parties who were well aware

of what they were doing when negotiating and executing them. There

is no need or justification for the Court to reform or re-write the

parties’     contracts    now.   The    contract      language   is     clear    and

unambiguous and must control the outcome of this dispute. Nowhere

do   these   contracts    provide      for    the   relief   Petro    Star   seeks.

Moreover, what someone thinks someone else may have thought or

secretly intended years ago is irrelevant. What one wishes someone

would have said or done years ago is irrelevant. What is relevant

is the actual agreement reduced to writing and adhered to by the

parties throughout the course of the contract. Petro Star has

provided no reliable evidence to suggest otherwise.                  These written

agreements and the subsequent conduct of the parties compel the

Court to rule in favor of Defendant as a matter of law.

ORDER GRANTING MOTION FOR
   SUMMARY JUDGMENT AT DOCKET 89 - 5
3:11-CV-0164-RRB


       Case 3:11-cv-00064-RRB Document 115 Filed 12/07/12 Page 5 of 6
      Therefore, for the reasons set forth above, as well as for the

reasons articulated clearly by BP in its pleadings, the Court

hereby GRANTS BP’s Motion for Summary Judgment at Docket 89. The

case is hereby DISMISSED in its entirety.

      IT IS SO ORDERED this 7th day of December, 2012.

                                       S/RALPH R. BEISTLINE
                                       UNITED STATES DISTRICT JUDGE




ORDER GRANTING MOTION FOR
   SUMMARY JUDGMENT AT DOCKET 89 - 6
3:11-CV-0164-RRB


       Case 3:11-cv-00064-RRB Document 115 Filed 12/07/12 Page 6 of 6
